Case 2:17-cv-05398-RSWL-AGR Document 64-1 Filed 11/28/17 Page 1 of 2 Page ID #:796



  1    Diana M. Torres (SBN 162284)
       diana.torres@kirkland.com
  2    Yungmoon Chang (SBN 311673)
       yungmoon.chang@kirkland.com
  3    KIRKLAND & ELLIS LLP
       333 South Hope Street
  4    Los Angeles, CA 90071
       Telephone: (213) 680-8400
  5    Facsimile: (213) 680-8500
  6
       Attorneys for Plaintiff
  7    AECOM ENERGY &
       CONSTRUCTION, INC.
  8
  9                        UNITED STATES DISTRICT COURT
 10                      CENTRAL DISTRICT OF CALIFORNIA
 11    AECOM ENERGY &                     )   CASE NO. 2:17-cv-05398-RSWL (SSx)
       CONSTRUCTION, INC., an Ohio        )
 12    Corporation,                       )   [PROPOSED] ORDER GRANTING
                                          )   PLAINTIFF’S MOTION TO HOLD
 13               Plaintiff,              )   DEFENDANTS IN CIVIL
                                          )   CONTEMPT FOR VIOLATING THE
 14          v.                           )   PRELIMINARY INJUNCTION AND
                                          )   TO AWARD PLAINTIFF ITS COSTS
 15    JOHN RIPLEY, et al.,               )   AND FEES
                                          )
 16               Defendants.             )   Complaint Filed Date: July 21, 2017
                                          )
 17                                       )   Judge:          Hon. Ronald S. W. Lew
                                          )   Hearing Date:   December 5, 2017
 18                                       )   Time:           10:00 AM
                                          )   Courtroom:      1
 19                                       )
 20
 21
 22
 23
 24
 25
 26
 27
 28
Case 2:17-cv-05398-RSWL-AGR Document 64-1 Filed 11/28/17 Page 2 of 2 Page ID #:797



  1
            After full consideration of the evidence and supporting papers of each party, as
  2
      well as oral argument, the Court finds that Plaintiff AECOM Energy & Construction,
  3
      Inc. (“AECOM”) has shown by clear and convincing evidence that Defendants are in
  4
      violation of this Court’s Preliminary Injunction Order (“P.I. Order”). Dkt. 45. The
  5
      Court finds that Defendants’ replacement of “Morrison Knudsen” with its well-known
  6
      acronym “MK” violates the Court’s P.I. Order enjoining Defendants from passing
  7
      themselves off as Morrison Knudsen. The Court additionally finds that Defendants,
  8
      contrary to their statements in their sworn declarations, Dkts. 62 and 63, have not in
  9
      fact filed Certificates of Amendment with the Nevada Secretary of State amending the
 10
      names of corporate Defendants.
 11
            Accordingly, this Court finds Defendants in contempt and orders Defendants to
 12
      amend corporate Defendants’ names to names wholly unassociated with Morrison
 13
      Knudsen and MK, so as to be compliant with the Preliminary Injunction Order, and to
 14
      file declarations with supporting documentation and evidence proving Defendants’
 15
      actions regarding the name changes, within seven days of the entry of this order. This
 16
      Court also finds that in its discretion, Defendants’ clear violation of the Preliminary
 17
      Injunction Order, as well as Defendants’ false statements in their sworn declarations,
 18
      merits an award of attorney fees and costs. This Court thus instructs AECOM to file a
 19
      declaration documenting all fees and costs incurred by the preparation and filing of
 20
      documents related to its motion within twenty-one days following the entry of this
 21
      order. Finally, the Court grants [any such relief that the Court may find appropriate].
 22
 23
            IT IS THEREFORE HEREBY ORDERED that said Motion to Hold
 24
      Defendants in Civil Contempt for Violating the Preliminary Injunction and to Award
 25
      Plaintiff Its Costs and Fees is GRANTED.
 26
            IT IS SO ORDERED.
 27                                         Judge of the United States District Court
 28


                                                  1
